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                                  4                                 UNITED STATES DISTRICT COURT

                                  5                             NORTHERN DISTRICT OF CALIFORNIA

                                  6

                                  7      BRUCE HORTI, et al.,
                                                                                       Case No. 21-cv-09812-PJH
                                  8                   Plaintiffs,

                                  9             v.                                     ORDER SETTING CASE
                                                                                       MANAGEMENT CONFERENCE FOR
                                  10     NESTLE HEALTHCARE NUTRITION,                  REMANDED CASES
                                         INC.,
                                  11
                                                      Defendant.
                                  12
Northern District of California
 United States District Court




                                  13
                                       TO ALL PARTIES AND COUNSEL OF RECORD:
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                                              The mandate of the Court of Appeals for the Ninth Circuit having been filed on
                                  15
                                       January 4, 2024, a Case Management Conference shall be held on February 15, 2024, at
                                  16
                                       2:00 p.m., by Zoom Videoconference.
                                  17
                                              The parties shall appear through lead counsel and shall be prepared to discuss
                                  18
                                       the course of future proceedings in this case. To that end, the parties shall first meet and
                                  19
                                       confer and then they shall file a joint case management statement setting forth a proposal
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                                       for the scheduling and resolution of the remaining issues. The statement shall be filed no
                                  21
                                       later than seven (7) days prior to the conference.
                                  22

                                  23
                                              IT IS SO ORDERED.
                                  24
                                       Dated: January 5, 2024
                                  25
                                                                                   _/s/ Phyllis J. Hamilton_________
                                  26                                               PHYLLIS J. HAMILTON
                                                                                   United States District Judge
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